                                                 MARC BARRECA
 1

 2                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 3                                    AT SEATTLE

 4    IN RE:                                        NO. 14-10421

 5    CASEY R. INGELS
         Debtor.
 6
      JOHN S. PETERSON, as Trustee,                 ADV. NO. 14-01387
 7       Plaintiff,
      v.                                            DECLARATION OF MAILING
 8
      CASEY R. INGELS,
 9       Defendants

10          I, hereby certify that on October 8, 2014 I placed in the U.S. Mail, postage prepaid,
     copies of the documents:
11

12                   SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN
                              AN ADVERSARY PROCEEDING
13                                       and
                        COMPLAINT FOR ORDER DENYING DISCHARGE
14   addressed to:
15
     Casey Ingels
16   PO Box 2242
     Tacoma, WA 98401
17
            I certify under penalty of perjury under the laws of the State of Washington that the
18   foregoing is true and correct.
19                                                      /s/ JOHN S. PETERSON
                                                        JOHN S. PETERSON
20   Signed on October 8, 2014, at Kingston, Washington.

21

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24

25
                                                              JOHN S. PETERSON
                                                                  ATTORNEY AT LAW
26
                                                                    P.O. Box 829
                                                                   Kingston, WA 98346
27                                                                     (360) 626-4392
 28 14-01387-CMA
Case                    Doc 3   Filed 10/08/14    Ent. 10/08/14 10:27:09     Pg. 1 of 1
